                       Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 1 of 27 Page ID #:1


                   1      LATHAM & WATKINS LLP
                           Perry J. Viscounty (Bar No. 132143)
                   2         perry.viscounty@lw.com
                          650 Town Center Drive, 20th Floor
                   3      Costa Mesa, CA 92626-1925
                          714.540.1235 / 714.755.8290 (Fax)
                   4
                          LATHAM & WATKINS LLP
                   5       Jennifer L. Barry (Bar No. 228066)
                             jennifer.barry@lw.com
                   6       Patrick C. Justman (Bar No. 281324)
                             patrick.justman@lw.com
                   7      12670 High Bluff Drive
                          San Diego, CA 92130
                   8      858.523.5400 / 858.523.5450 (Fax)
                   9      Attorneys for Plaintiff
                          ENTREPRENEUR MEDIA, INC.
              10
              11                                    UNITED STATES DISTRICT COURT
              12                                  CENTRAL DISTRICT OF CALIFORNIA
              13                                           SOUTHERN DIVISION
              14
                         ENTREPRENEUR MEDIA, INC.,                  CASE NO. 8:19-cv-01706
              15         a California corporation,
              16                              Plaintiff,            Complaint For:
              17                  v.                                (1) Trademark Infringement
                                                                        (Lanham Act, 15 U.S.C. § 1114)
              18         JOHN DOE d/b/a ENTREPRENEUR
                         PRESS, and DOES 1 through 9,               (2) Unfair Competition/False
              19         inclusive,                                     Designation of Origin
                                      Defendants.                       (Lanham Act, 15 U.S.C. § 1125(a))
              20
                                                                    (3) Common Law Trademark
              21                                                        Infringement
              22                                                    (4) Common Law Unfair Competition
              23
                                                                    DEMAND FOR JURY TRIAL
              24
              25
              26
              27
              28
                        US-DOCS\109750573.1                                                    COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y
                                                                                     DEMAND FOR JURY TRIAL
                       Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 2 of 27 Page ID #:2


                   1                                           COMPLAINT
                   2                                      NATURE OF ACTION
                   3             1.       Plaintiff Entrepreneur Media, Inc. (“EMI”) brings this complaint
                   4 against John Doe d/b/a Entrepreneur Press and Does 1 through 9 (collectively
                   5 “Defendants”) for (i) federal trademark infringement and false designation of
                   6 origin, and unfair competition in violation of the Lanham Act, 15 U.S.C. § 1051, et
                   7 seq. and (ii) common law trademark infringement and unfair competition under
                   8 California law, and EMI alleges, with knowledge concerning its own acts and on
                   9 information and belief as to all other matters (unless otherwise specifically stated),
              10 as follows:
              11                                               THE PARTIES
              12                 2.       EMI is a California corporation with its principal place of business at
              13 18061 Fitch Avenue, Irvine, California 92614.
              14                 3.       Defendants are persons or entities responsible in whole or in part for
              15 the wrongdoing alleged herein. The true names and capacities of Defendants are
              16 unknown to EMI, who therefore sues these defendants by such fictitious names.
              17 EMI is informed and believes, and thereon alleges, that each of the Defendants
              18 participated in, ratified, endorsed, and/or was otherwise involved in the acts
              19 complained of, and they have liability for such acts. EMI prays for leave to amend
              20 this Complaint to show the true names and capacities of Defendants when the same
              21 have been ascertained.
              22                 4.       Upon information and belief, Defendants conduct business throughout
              23 the United States, including California and within this District, using the
              24 ENTREPRENEUR PRESS mark.
              25                 5.       As fully detailed below, Defendants use the ENTREPRENEUR
              26 PRESS mark (alternatively referred to as the “Infringing Entrepreneur Mark”) in
              27 such a manner that violates EMI’s longstanding and strong rights in the
              28 ENTREPRENEUR® mark.
                        US-DOCS\109750573.1                                                          COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                         1                  DEMAND FOR JURY TRIAL
                       Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 3 of 27 Page ID #:3


                   1                                  JURISDICTION AND VENUE
                   2             6.       Pursuant to 15 U.S.C. § 1121(a) and 28 U.S.C. § 1338(a), this Court
                   3 has subject matter jurisdiction over EMI’s claims for relief for violation of the
                   4 Lanham Act. Pursuant to 28 U.S.C. § 1338(b), this Court has supplemental
                   5 jurisdiction over EMI’s state law trademark infringement claim because it is joined
                   6 with substantial and related claims under the Lanham Act. This Court also has
                   7 supplemental jurisdiction over EMI’s state law claims pursuant to 28 U.S.C.
                   8 § 1367(a) because all of EMI’s claims arise out of a common nucleus of operative
                   9 facts.
              10                 7.       This Court has personal jurisdiction over Defendants because
              11 Defendants have (a) conducted substantial business in the State of California and
              12 this District by advertising, targeting, offering, selling, and providing their
              13 goods/services to residents of this District; (b) derived financial benefits from
              14 residents of the State of California by doing so; (c) purposefully availed
              15 themselves of the privilege of conducting business within the State of California;
              16 (d) sought protection and benefits from the laws of the State of California; and
              17 (e) the causes of action arise from the Defendants’ activities within and actions
              18 targeted at the State of California.
              19                 8.       Venue in this Court exists under 28 U.S.C. § 1391(b)(2) as a
              20 substantial part of the events giving rise to EMI’s claims occurred within this
              21 District.
              22                          FACTS COMMON TO ALL CLAIMS FOR RELIEF
              23                              EMI and Its Successful ENTREPRENEUR® Brand
              24                 9.       For over forty years, EMI (together with its predecessor companies)
              25 has published magazines and books, which provide editorial content and other
              26 information, as well as offered products and services related, or of interest, to
              27 businesses, business owners, and prospective business owners.
              28
                        US-DOCS\109750573.1                                                        COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                        2                 DEMAND FOR JURY TRIAL
                       Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 4 of 27 Page ID #:4


                   1             10.      EMI’s longstanding marketing and sales efforts have been conducted
                   2 primarily under the mark ENTREPRENEUR® (the “ENTREPRENEUR Mark”).
                   3             11.      EMI is the publisher of ENTREPRENEUR® magazine and other
                   4 publications incorporating the ENTREPRENEUR name in their titles.
                   5 ENTREPRENEUR® magazine is published ten times per year with a current print
                   6 and digital paid circulation, including both subscriptions and single-copy sales, of
                   7 more than 517,500 in the United States and worldwide.
                   8             12.      ENTREPRENEUR® magazine routinely features articles about and
                   9 interviews with some of the biggest names in the business community, including
              10 Jeff Bezos (founder, chairman, and CEO of Amazon), Venus Williams (tennis
              11 icon), and Sarah Michelle Gellar (actress and co-founder of startup Foodstirs):
              12
              13
              14
              15
              16
              17
              18
              19
              20                 13.      ENTREPRENEUR® magazine also annually publishes, and has
              21 continuously published for over thirty years, the highly anticipated Franchise 500®
              22 ranking of America’s top franchises using EMI’s top-secret formula:
              23
              24
              25
              26
              27
              28
                        US-DOCS\109750573.1                                                      COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                      3                 DEMAND FOR JURY TRIAL
                       Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 5 of 27 Page ID #:5


                   1             14.      EMI also publishes and distributes within the United States and
                   2 worldwide over 200 book titles under the ENTREPRENEUR Mark and
                   3 ENTREPRENEUR PRESS® imprint:
                   4
                   5
                   6
                   7
                   8
                   9
              10                 15.      EMI also conducts seminars, workshops, and other educational
              11 programs geared towards teaching others to successfully start and operate
              12 businesses. These events have included: (i) the Entrepreneur® Masters & Mentors
              13 seminar series sponsored by Cathay Pacific and Nissan, (ii) Entrepreneur®
              14 Magazine’s GrowthCon conference sponsored by Canon USA, and (iii) the
              15 Entrepreneur 360™, a conference sponsored by The Lincoln Motor Company,
              16 Canon USA, AXA Financial, and American Airlines.
              17                 16.      EMI operates a number of websites to further disseminate and market
              18 its content and services, including entrepreneur.com, entrepreneurnetwork.com,
              19 and various social media channels and mobile apps.
              20                 17.      The website at entrepreneur.com has recently averaged more than
              21 thirteen million unique users and more than thirty-three million page views per
              22 month.
              23                 18.      EMI has also launched apps for iPhones/ iPads and Android:
              24
              25
              26
              27
              28
                        US-DOCS\109750573.1                                                        COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                        4                 DEMAND FOR JURY TRIAL
                       Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 6 of 27 Page ID #:6


                   1             19.      EMI offers a variety of podcasts, including a podcast offered through
                   2 entrepreneur.com, and a podcast under the ENTREPRENEUR mark on iTunes, as
                   3 well as other outlets:
                   4
                   5
                   6
                   7
                   8
                   9
              10
              11                 20.      EMI’s fame and high-quality content and services have resulted in
              12 numerous co-branding business relationships with some of the top names in news
              13 and business. These co-branding relationships have most recently included:
              14 (i) contests sponsored by General Motors and Canon USA; (ii) content provided
              15 and branded by CNBC, Reuters, NFL Players Association, and Business Insider;
              16 (iii) Princeton Review (ranking top entrepreneurial schools); (iv) Great Place to
              17 Work® (annual Best Small & Medium Workplaces rankings); (v) Palo Alto
              18 Software (Entrepreneur Magazine’s Business Plan Pro® software); and
              19 (vi) an online forms and documents service with SeamlessDocs.
              20                 21.      Most recently and in particular, EMI has: (i) partnered with Steve
              21 Case’s Rise of the Rest™, a nationwide program to promote entrepreneurship in
              22 start-up ecosystems within middle America; (ii) hosted a contest with Canon USA
              23 under the rubric Project Grow Challenge, in which businesses were awarded
              24 money based on how they proposed to grow their businesses through increased
              25 productivity and consumer awareness; and (iii) partnered with Chivas Brothers
              26 Limited as its exclusive media content partner, in connection with and support of
              27 Chivas’ annual event known as The Venture, a worldwide competition to discover,
              28
                        US-DOCS\109750573.1                                                         COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                        5                  DEMAND FOR JURY TRIAL
                       Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 7 of 27 Page ID #:7


                   1 celebrate, and award with investment dollars extraordinary startup businesses
                   2 creating positive social change.
                   3             22.      Through careful cultivation of its various products and services, EMI
                   4 has developed an outstanding reputation as an innovator in the field of business
                   5 start-ups and strategy and has established an extremely loyal customer following.
                   6             23.      EMI has received a tremendous amount of public recognition and
                   7 acclaim for the products sold and services provided under its ENTREPRENEUR
                   8 Mark. Through EMI’s widespread and continuous use of the ENTREPRENEUR
                   9 Mark, it has acquired extensive goodwill, developed a high degree of
              10 distinctiveness, and become famous, well known, and recognized as identifying
              11 goods and services that originate from EMI.
              12                 24.      The fame and quality of the products and services bearing the
              13 ENTREPRENEUR Mark have been widely recognized through industry awards
              14 and commendations. For example, ENTREPRENEUR magazine was a finalist in
              15 two categories in Folio’s 2010 Eddie & Ozzie magazine awards, has been named
              16 one of the top performing magazines for four years in “Capell’s Circulation
              17 Report,” and has been honored for its content by receipt of the prestigious Maggie
              18 award in 2008, 2009, 2010, and 2011 from the Western Publishing Association.
              19 EMI’s website at entrepreneur.com has been awarded “Outstanding Achievement
              20 in Web Development” by the Web Marketing Association, and its networking
              21 website under the ENTREPRENEUR CONNECT Mark was voted the #1 “Top 10
              22 Social Networks for Entrepreneurs” by Mashable.com. EMI has also received
              23 multiple Integrated Marketing Awards from MIN for its magazine and website,
              24 including being selected as an awards finalist in 2015.
              25                 25.      In addition, both ENTREPRENEUR® magazine and the
              26 entrepreneur.com website have been named to BtoB magazine’s 2010, 2011, and
              27 2012 lists of the top 50 media outlets for business-to-business advertising. EMI’s
              28 management and staff have also been recognized for their contributions to
                        US-DOCS\109750573.1                                                        COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                        6                 DEMAND FOR JURY TRIAL
                       Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 8 of 27 Page ID #:8


                   1 publishing and the media industry, including such awards and recognitions in 2015
                   2 as (i) Folio’s designation of an EMI staff writer as one of the “Top Women in
                   3 Media,” and (ii) Fast Company’s recognition on Twitter of EMI’s Editor-in-Chief
                   4 as one of the “25 Smartest Women in Media.”
                   5                                EMI’s Intellectual Property Rights
                   6             26.      EMI owns, and has obtained United States federal registrations for,
                   7 the ENTREPRENEUR Mark, as well as a family of related marks incorporating
                   8 the term ENTREPRENEUR, as follows:
                   9        TRADEMARK                        CLASS: GOODS/SERVICES                         REG. NO.
              10                                                                                          REG. DATE
                           ENTREPRENEUR           16: Paper goods and printed matter; namely                1,453,968
              11                                  magazines, books, and published reports pertaining to    August 25,
                                                  business opportunities                                       1987
              12           ENTREPRENEUR           35: Advertising and business services, namely,            2,263,883
                                                  arranging for the promotion of the goods and services   July 27, 1999
              13                                  of others by means of a global computer network and
              14                                  other computer online services providers; providing
                                                  business information for the use of customers in the
              15                                  field of starting and operating small businesses and
                                                  permitting customers to obtain information via a global
              16                                  computer network and other computer online service
                                                  providers; and web advertising services, namely,
              17
                                                  providing active links to the websites of others
              18           ENTREPRENEUR           35: Arranging and conducting trade show exhibitions      2,502,032
                                                  in the field of entrepreneurial activities, namely, the  October 30,
              19                                  start-up and operation of small business enterprises        2001
                                                  41: Educational services, namely, conducting seminars
              20                                  on the development and operation of businesses, and
              21                                  conducting workshops on computer technology,
                                                  telecommunications, marketing, financing options, real
              22                                  estate management, tax planning, and insurance
                           ENTREPRENEUR           38: Streaming of video and digital material on the       4,260,948
              23                                  Internet                                                December 18,
                                                                                                              2012
              24           ENTREPRENEUR           9: Downloadable computer software and software for       4,345,424
              25                                  mobile devices for the reproduction, display, and       June 4, 2013
                                                  distribution of digitized content
              26
                           ENTREPRENEUR           9: Pre-recorded audio and audiovisual recordings of      5,256,907
              27                                  programs concerning strategies and other how-to          August 1,
              28                                  information about starting and successfully operating       2017
                                                  businesses, successful business owners and other
                        US-DOCS\109750573.1                                                               COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                           7                     DEMAND FOR JURY TRIAL
                       Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 9 of 27 Page ID #:9


                   1        TRADEMARK                    CLASS: GOODS/SERVICES                             REG. NO.
                                                                                                          REG. DATE
                   2                          information of interest to business owners and
                   3                          members of the general public interested in owning
                                              and operating a business, in the form of downloadable
                   4                          recordings
                                              38: Streaming of audiovisual and multimedia content
                   5                          via the internet; transmission and delivery of
                                              audiovisual and multimedia content via the internet;
                   6
                                              video-on-demand transmission services; mobile media
                   7                          services in the nature of electronic transmission,
                                              wireless broadcasting and electronic delivery of audio,
                   8                          video and multimedia entertainment content, namely,
                                              text, data, images, audio, video, and audiovisual files
                   9                          provided via the internet; video broadcasting services
                                              over the internet or other communications network,
              10
                                              namely, electronically transmitting video clips; internet
              11                              broadcasting services; providing streaming of audio
                                              and video in the nature of programs concerning
              12                              strategies and other how-to information about starting
                                              and successfully operating businesses, successful
              13                              business owners and other information of interest to
              14                              business owners and members of the general public
                                              interested in owning and operating a business, namely,
              15                              audio, visual, and audiovisual matter for others via
                                              global computer networks; broadcasting and
              16                              transmission of analog television, digital television,
                                              cable television, satellite television, pay television,
              17                              interactive television, radio, and internet programs;
              18                              broadcasting of internet programs via radio and
                                              television; broadcasting of programs provided over the
              19                              internet; streaming audio, video, and audiovisual
                                              content, data and information on the Internet,
              20                              communications networks and wireless
                                              telecommunications networks; providing video on-
              21                              demand transmission of audio, video and audiovisual
              22                              content, data and information; transmission of audio,
                                              video and audiovisual content, data and information on
              23                              the Internet, communications networks and wireless
                                              telecommunications networks.
              24                              41: Entertainment services, namely, the production,
                                              presentation, distribution and syndication of on-going
              25                              television, internet and non-downloadable audio and
              26                              audiovisual recordings, all of the aforementioned
                                              concerning strategies and other how-to information
              27                              about starting and successfully operating businesses,
                                              successful business owners and other information of
              28                              interest to business owners and members of the general
                        US-DOCS\109750573.1                                                            COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                        8                     DEMAND FOR JURY TRIAL
                   Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 10 of 27 Page ID #:10


                   1       TRADEMARK                    CLASS: GOODS/SERVICES                           REG. NO.
                                                                                                       REG. DATE
                   2                         public interested in owning and operating a business
                   3      ENTREPRENEUR       35: Online ordering services featuring printed and          4,612,937
                           BOOKSTORE         electronically downloadable publications, namely,         September 30,
                   4                         books, study guides, legal and business forms, and             2014
                                             newsletters, concerning advice and information
                   5                         relating to starting and operating a business and other
                   6                         topics concerning and of interest to entrepreneurs, new
                                             and existing businesses, and members of the general
                   7                         public
                          ENTREPRENEUR       16: Paper goods and printed matter, namely, books,          3,470,064
                   8          PRESS          manuals, prepared reports, work books, study guides,      July 22, 2008
                                             legal and business forms, and newsletters concerning
                   9                         advice and information relating to the subjects of
              10                             starting, running, and operating a business, and
                                             individuals who succeeded in business, which subjects
              11                             are of interest to entrepreneurs, new and existing
                                             businesses, and members of the general public
              12                             35: Online ordering services featuring printed and
                                             electronically downloadable publications, namely,
              13                             books, study guides, legal and business forms, and
              14                             newsletters, concerning advice and information
                                             relating to the subjects of starting, running, and
              15                             operating a business and individuals who succeeded in
                                             business, which subjects are of interest to
              16                             entrepreneurs, new and existing businesses and
                                             members of the general public
              17
              18                             16: Paper goods and printed matter, namely, books,          3,470,063
                                             manuals, prepared reports, work books, study guides,      July 22, 2008
              19                             legal and business forms, and newsletters concerning
                                             advice and information relating to the subjects of
              20                             starting, running and operating a business, and
              21                             individuals who succeeded in business, which subjects
                                             are of interest to entrepreneurs, new and existing
              22                             businesses, and members of the general public
                                             35: Online ordering services featuring printed and
              23                             electronically downloadable publications, namely,
                                             books, study guides, legal and business forms, and
              24                             newsletters, concerning advice and information
              25                             relating to the subjects of starting, running, and
                                             operating a business and individuals who succeeded in
              26                             business, which subjects are of interest to
                                             entrepreneurs, new and existing businesses, and
              27                             members of the general public
              28
                       US-DOCS\109750573.1                                                           COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                      9                     DEMAND FOR JURY TRIAL
                   Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 11 of 27 Page ID #:11


                   1       TRADEMARK                    CLASS: GOODS/SERVICES                       REG. NO.
                                                                                                   REG. DATE
                   2    ENTREPRENEUR’S 9: Downloadable computer software and software for           4,532,577
                   3       STARTUPS    mobile devices for the reproduction, display,               May 20, 2014
                                       distribution, and sharing of digitized content;
                   4                   downloadable electronic publications, namely,
                                       magazines in the fields of business, finance, sales,
                   5                   marketing, current events, lifestyle issues, and
                                       developments in science and technology
                   6
                        ENTREPRENEUR’S 16: Paper goods and printed matter; namely,                   3,204,899
                   7       STARTUPS    magazines, books, booklets, and published reports            February 6,
                                       pertaining to business opportunities                             2007
                   8     ENTREPRENEUR 16: Annual featured issue of magazine featuring the            5,052,999
                              360      achievements of successful non-franchise and                 October 4,
                   9
                                       privately-owned businesses and publications related              2016
              10                       thereto, providing information and incentive to others
                                       to pursue excellence in business pursuits by presenting
              11                       awards on an annual basis, and promoting award
                                       recipients and providing recognition by the way of
              12                       awards to demonstrate excellence in the field of
              13                       business.
                                       35: Advertising and business services, namely,
              14                       arranging for the promotion of the goods and services
                                       of others by means of a global computer network and
              15                       other computer online services providers; providing
                                       business information to customers in the field of
              16                       starting and operating non-franchise and privately-
              17                       owned businesses by means of a global computer
                                       network and other computer online service providers;
              18                       advertising services, namely, providing advertising
                                       space in a magazine featuring news and information
              19                       concerning the field of non-franchise and privately-
                                       owned businesses; providing statistics, ratings, and
              20                       rankings and other information capable of being
              21                       updated on a continuing basis through an interactive
                                       database and about businesses which are not franchises
              22                       and are privately-owned.
                                       41: Recognizing the achievements of successful non-
              23                       franchise and privately-owned businesses and
                                       providing incentive to others to pursue excellence in
              24                       business pursuits by presenting a wards on an annual
              25                       basis and promoting award recipients; providing
                                       recognition by the way of awards to demonstrate
              26                       excellence in the field of business; arranging and
                                       conducting educational conferences; educational
              27                       services, namely, developing, arranging, and
                                       conducting educational conferences and programs and
              28                       providing courses of instruction in the field of business
                       US-DOCS\109750573.1                                                       COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                    10                  DEMAND FOR JURY TRIAL
                   Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 12 of 27 Page ID #:12


                   1       TRADEMARK                       CLASS: GOODS/SERVICES                    REG. NO.
                                                                                                   REG. DATE
                   2                             administration and management
                   3
                   4
                                27.      The above marks are collectively referred to as the “EMI Marks.”
                   5
                        The above registrations are collectively referred to as the “EMI Registrations.”
                   6
                                28.      EMI’s three U.S. registrations for the ENTREPRENEUR Mark
                   7
                        (Nos. 1,453,968; 2,263,883; 2,502,032) and several other of the foregoing
                   8
                        registrations are also incontestable pursuant to 15 U.S.C. § 1065, which constitutes
                   9
                        conclusive evidence of the registrations’ validity, as well as EMI’s entitlement to
              10
                        the exclusive use of the marks in commerce throughout the United States on the
              11
                        goods and services listed in the registrations.
              12
                                29.      Further, the EMI Registrations constitute prima facie evidence that the
              13
                        marks are valid, and that EMI is entitled to the exclusive use of the marks in
              14
                        commerce throughout the United States on the goods and services listed in the
              15
                        registrations.
              16
                                30.      EMI, and its predecessors in interest, have been and are now engaged
              17
                        in the business of developing, creating, distributing, marketing, advertising, and
              18
                        selling a wide variety of goods and services under the EMI Marks, and in particular
              19
                        under the ENTREPRENEUR Mark. In fact, EMI has used the ENTREPRENEUR
              20
                        Mark in commerce for over forty years, having first adopted that mark for
              21
                        magazines at least as early as May 2, 1978, and it is famous, well-known, and
              22
                        recognized as identifying goods and services that originate from EMI.
              23
                                31.      Through careful cultivation of its goods and services provided under
              24
                        the EMI Marks, and in particular the ENTREPRENEUR Mark, EMI has developed
              25
                        an outstanding reputation as an innovator in the field of business start-ups and
              26
                        strategy and has established an extremely loyal customer following. Through
              27
                        EMI’s widespread and continuous use of its family of EMI Marks, these marks
              28
                       US-DOCS\109750573.1                                                         COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                       11                 DEMAND FOR JURY TRIAL
                   Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 13 of 27 Page ID #:13


                   1 have acquired extensive goodwill, developed a high degree of distinctiveness, and
                   2 become well-known and recognized as identifying goods and services that
                   3 originate from EMI.
                   4            32.      Numerous courts across the country have recognized the strength of
                   5 the EMI Marks, including:
                   6               i.    The U.S. District Court for the Central District of California held that
                   7                     “[t]he extensive advertising and public recognition over the past 25
                   8                     years have established [the ENTREPRENEUR® Mark] as a strong
                   9                     mark in the industry”; the ENTREPRENEUR® Mark “is a strong
              10                         distinctive mark, deserving of significant protection”; and the
              11                         ENTREPRENEUR Mark “has acquired secondary meaning.”
              12                         Entrepreneur Media, Inc. v. Smith, No. 98-3607, 2004 U.S. Dist.
              13                         Lexis 24078, *9–10, 13 (C.D. Cal. June 23, 2004).
              14                  ii.    The Ninth Circuit reviewed the District Court’s findings and affirmed
              15                         them on appeal. Entrepreneur Media, Inc. v. Smith, 101 Fed. App’x
              16                         212, 215 (9th Cir. 2004).
              17                 iii.    The U.S. District Court for the Central District of California recently
              18                         adopted the holding of the district court in the Smith case, and once
              19                         again found that “the mark ENTREPRENEUR is strong distinctive
              20                         mark, deserving of significant protection” and that “EMI’s
              21                         ENTREPRENEUR mark is a strong mark” that was infringed by
              22                         defendant’s ENTREPRENEUR PODCAST mark. See Entrepreneur
              23                         Media, Inc. v. Eric M. Dye, et al., No. 18-cv-0341-DOC (PLAx),
              24                         Docket No. 22 (C.D. Cal., Sept. 11, 2018).
              25                 iv.     The U.S. District Court for the Central District of California has twice
              26                         held that “the ENTREPRENEUR Mark and EMI’s related marks have
              27                         developed a high degree of distinctiveness and become well-known
              28                         and recognized as identifying goods and services that originate from
                       US-DOCS\109750573.1                                                          COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                       12                  DEMAND FOR JURY TRIAL
                   Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 14 of 27 Page ID #:14


                   1                     EMI.” Entrepreneur Media, Inc. v. Entrepreneurs Opportunities,
                   2                     LLC, No. 17-cv-01341-JVS-KES, Docket No. 20 (C.D. Cal., Jan. 14,
                   3                     2018); Entrepreneur Media, Inc. v. The Innovation Initiative, et al,
                   4                     No. 17-cv-2261-JVS-KES, Docket No. 23 (C.D. Cal., August 2, 2018)
                   5                     (finding the same); see also Entrepreneur Media, Inc. v. Darren
                   6                     Casey, No. 18-cv-01058-JLS-AGR, Docket No. 20 (C.D. Cal.,
                   7                     December 20, 2018) (recognizing that EMI’s marks are protectable
                   8                     and have been used for over forty years). These courts also held that
                   9                     EMI’s rights were violated by, respectively, the ENTREPRENEUR
              10                         OPPORTUNITIES mark, the ENTREPRENEUR TV mark, and the
              11                         FIT ENTREPRENEUR MAGAZINE mark.
              12                  v.     The U.S. District Court for the District of Colorado held that “the EMI
              13                         Marks, and in particular the ENTREPRENEUR® mark, have acquired
              14                         extensive goodwill, developed a high degree of distinctiveness and
              15                         secondary meaning, and become well known, famous, and recognized
              16                         as identifying goods and services that originate from EMI, such that
              17                         they are deserving of strong protection.” Entrepreneur Media, Inc. v.
              18                         Spencer et al., No. 1:17-cv-01637-RBJ, Docket No. 20, at pg. 8 (D.
              19                         Colo. Dec. 15, 2017) (also finding that EMI’s rights were violated by
              20                         the ENTREPRENEUR SUPPORT mark).
              21                 vi.     The U.S. District Court for the District of Connecticut has recognized
              22                         that “the EMI Marks, and in particular the ENTREPRENEUR Mark,
              23                         have acquired extensive goodwill, developed a high degree of
              24                         distinctiveness and secondary meaning, and become well known and
              25                         recognized as identifying goods and services that originate from EMI,
              26                         such that they are deserving of strong protection.” Entrepreneur
              27                         Media, Inc. v. Whitehill et al., No. 13-cv-01819(MPS), Docket No. 19
              28
                       US-DOCS\109750573.1                                                         COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                       13                 DEMAND FOR JURY TRIAL
                   Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 15 of 27 Page ID #:15


                   1                     (D. Conn. Aug. 19, 2015) (also finding that EMI’s rights were
                   2                     violated by the ENTREPRENEUR WEEK mark).
                   3            vii.     The U.S. District Court for the District of Maryland has twice
                   4                     recognized the EMI Marks as valid, strong, and distinctive.
                   5                     Entrepreneur Media, Inc. v. JMD Entertainment Group, LLC, et al.,
                   6                     No. RDB-12-1970, Docket No. 30 (D. Md. July 23, 2013); id., Docket
                   7                     No. 47 (Apr. 7, 2014) (also finding that EMI’s rights were violated by
                   8                     the ENTREPRENEURS EDGE mark).
                   9           viii.     Both a Magistrate Judge and District Court Judge in the Eastern
              10                         District of Virginia found the ENTREPRENEUR Mark to be
              11                         distinctive. Entrepreneur Media, Inc. v. seattleentrepreneur.com,
              12                         No. 11-00409, Docket No. 22 (E.D. Va. Dec. 6, 2011) (also finding
              13                         that EMI’s rights were violated by the registration of the
              14                         seattleentrepreneur.com and austinentrepreneur.com domain names).
              15                             Defendants’ Unauthorized Use of EMI’s Marks
              16                33.      Defendants own the ENTREPRENEURPRESS Instagram account and
              17 operate a page there using the ENTREPRENEUR PRESS mark, available at
              18 https://www.instagram.com/entrepreneurpress/ (the “Social Media Account”).
              19                34.      Under the ENTREPRENEUR PRESS mark, Defendants provide
              20 advice, motivational quotes, and success stories in the fields of business and
              21 entrepreneurship.
              22                35.      Defendants’ ENTREPRENEUR PRESS mark is identical to EMI’s
              23 registered ENTREPRENEUR PRESS® mark (Reg. Nos. 3,470,064) and used with
              24 services that are nearly identical to those offered by EMI under the EMI Marks.
              25 Indeed, Defendants have used the Social Media Account and ENTREPRENEUR
              26 PRESS mark to promote a recommended list of books, as shown below:
              27 ///
              28 ///
                       US-DOCS\109750573.1                                                          COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                       14                  DEMAND FOR JURY TRIAL
                   Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 16 of 27 Page ID #:16


                   1
                   2
                   3
                   4
                   5
                   6
                   7
                   8
                   9
              10                36.      This is exactly how EMI uses its ENTREPRENEUR PRESS® mark,
              11 as shown here:
              12
              13
              14
              15
              16
              17
              18
              19
              20
              21
              22
              23
              24
              25                37.      In light of EMI’s renown, online presence, and long history of
              26 providing goods and services under the ENTREPRENEUR Mark, EMI is very
              27 concerned that consumers will likely be confused and mistakenly believe that
              28
                       US-DOCS\109750573.1                                                        COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                      15                 DEMAND FOR JURY TRIAL
                   Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 17 of 27 Page ID #:17


                   1 Defendants and their goods and/or services are endorsed, approved, or sponsored
                   2 by, or affiliated, connected, or associated with, EMI.
                   3            38.      Defendants will thus reap the benefits of EMI’s reputation and
                   4 goodwill based on this consumer confusion, to EMI’s detriment.
                   5            39.      EMI has attempted to reconcile its concerns with Defendants,
                   6 including by a letter on October 9, 2018, but Defendants have failed to respond to
                   7 EMI’s communications, let alone cease use of the Infringing Entrepreneur Mark.
                   8            40.      Given Defendants’ failure to respond to EMI’s concerns, and
                   9 Defendants’ continuing use of the mark, EMI brought this suit to fully litigate and
              10 resolve the trademark issues between the parties.
              11                              EMI Is Harmed By Defendants’ Continuing
              12                                   Infringement & Unlawful Conduct
              13                41.      Defendants’ continued use of the confusingly similar Infringing
              14 Entrepreneur Mark in commerce violates EMI’s valuable intellectual property
              15 rights in the EMI Marks and EMI Registrations, and Defendants’ knowing,
              16 intentional, willful, and malicious use of this mark is damaging to EMI and EMI’s
              17 property.
              18                42.      Defendants have used the Infringing Entrepreneur Mark to unfairly
              19 usurp and capitalize on the value and goodwill of the EMI Marks and EMI
              20 Registrations, particularly the ENTREPRENEUR Mark. Defendants are aware of
              21 EMI’s strong trademark rights and reputation in the marketplace, but nevertheless,
              22 use the Infringing Entrepreneur Mark to profit from the goodwill associated with
              23 the EMI Marks and EMI Registrations.
              24                43.      Defendants have intentionally and knowingly capitalized off of
              25 confusion between EMI’s mark and the ENTREPRENEUR PRESS mark,
              26 including by providing content almost identical to EMI’s content, as described
              27 above.
              28
                       US-DOCS\109750573.1                                                        COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                      16                 DEMAND FOR JURY TRIAL
                   Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 18 of 27 Page ID #:18


                   1            44.      Due to Defendants’ continuing willful infringement and unlawful
                   2 conduct, EMI is now forced to bring this Complaint to protect its valuable and
                   3 longstanding intellectual property rights. EMI had to retain counsel and incur
                   4 substantial fees and costs (and it continues to incur those fees and costs) to
                   5 prosecute this suit and pursue its claims.
                   6            45.      EMI’s interest in protecting its intellectual property rights and its
                   7 products and services from consumer confusion outweigh any harm to Defendants.
                   8 The public interest is best served by granting EMI’s requested relief against
                   9 Defendants.
              10                                       FIRST CLAIM FOR RELIEF
              11                             Federal Trademark Infringement – 15 U.S.C. § 1114
              12                46.      EMI incorporates by reference the factual allegations set forth above.
              13                47.      EMI owns the EMI Marks and the EMI Registrations. The
              14 trademarks reflected in the EMI Registrations are strong and distinctive and
              15 designate EMI as the source of all products and services advertised, marketed,
              16 sold, or used in connection with the EMI Marks. In particular, the
              17 ENTREPRENEUR Mark has been used for over forty years and has been
              18 recognized by federal courts as a strong and distinctive mark.
              19                48.      EMI is the senior user of the EMI Marks as it began use of those
              20 marks in interstate commerce prior to Defendants’ first use of the confusingly
              21 similar Infringing Entrepreneur Mark.
              22                49.      Defendants do not have authorization, license, or permission from
              23 EMI to market and sell their products and services under the Infringing
              24 Entrepreneur Mark, which is confusingly similar to the EMI Marks, including the
              25 ENTREPRENEUR Mark, and which is used by Defendants with products and
              26 services that are identical and/or closely related to the particular products and
              27 services associated with the EMI Marks, particularly the ENTREPRENEUR Mark.
              28
                       US-DOCS\109750573.1                                                           COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                        17                  DEMAND FOR JURY TRIAL
                   Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 19 of 27 Page ID #:19


                   1            50.      Defendants were aware of the EMI Marks, particularly the
                   2 ENTREPRENEUR Mark, as Defendants were on constructive notice based on
                   3 EMI’s longstanding federal registrations, as well as on actual notice based on
                   4 EMI’s letter to Defendants about this matter. Yet, Defendants continued to use
                   5 their infringing mark. Thus, Defendants’ unauthorized use of the confusingly
                   6 similar Infringing Entrepreneur Mark was and is knowing, intentional, and willful.
                   7            51.      As a direct and proximate result of Defendants’ wrongful conduct,
                   8 EMI has been and will continue to be damaged.
                   9            52.      Defendants’ actions therefore constitute trademark infringement.
              10                53.      Unless an injunction is issued enjoining any continuing or future use
              11 of the confusingly similar Infringing Entrepreneur Mark by Defendants, such
              12 continuing or future use is likely to continue to cause confusion, mistake, or
              13 deception as to source, origin, affiliation, or sponsorship, and will thereby
              14 irreparably harm EMI.
              15                54.      Defendants’ activities have caused and will continue to cause
              16 irreparable harm to EMI, for which it has no adequate remedy at law, because:
              17 (i) the EMI Marks, and in particular the ENTREPRENEUR Mark, comprise unique
              18 and valuable property rights that have no readily determinable market value;
              19 (ii) Defendants’ infringement constitutes interference with EMI’s goodwill and
              20 customer relationships and is harming and will continue to substantially harm
              21 EMI’s reputation as a source of high-quality goods and services; and
              22 (iii) Defendants’ wrongful conduct, and the damages resulting to EMI, are
              23 continuing. Accordingly, EMI is entitled to injunctive relief pursuant to 15 U.S.C.
              24 § 1116(a).
              25                55.      Pursuant to 15 U.S.C. §1117(a), EMI is entitled to an order:
              26 (i) requiring Defendants to account to EMI for any and all profits derived from its
              27 infringing actions, to be increased in accordance with the applicable provisions of
              28
                       US-DOCS\109750573.1                                                         COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                       18                 DEMAND FOR JURY TRIAL
                   Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 20 of 27 Page ID #:20


                   1 law; and (ii) awarding all damages sustained by EMI that were caused by
                   2 Defendants’ conduct.
                   3            56.      Defendants’ conduct was and is intentional and without foundation in
                   4 law, and, pursuant to 15 U.S.C. § 1117(a), EMI is therefore entitled to an award of
                   5 treble damages against Defendants.
                   6            57.      Defendants’ acts make this an exceptional case under 15 U.S.C.
                   7 § 1117(a); thus EMI is entitled to an award of attorneys’ fees and costs.
                   8                                SECOND CLAIM FOR RELIEF
                   9    Federal Unfair Competition/False Designation of Origin – 15 U.S.C. § 1125(a)
              10                58.      EMI incorporates by reference the factual allegations set forth above.
              11                59.      The EMI Marks, and in particular the ENTREPRENEUR Mark, are
              12 strong and distinctive and designate EMI as the source of all goods and services
              13 advertised, marketed, sold, or used in connection with those marks. In addition, by
              14 virtue of EMI’s decades of use of the ENTREPRENEUR Mark in connection with
              15 its products and services, and its extensive marketing, advertising, promotion, and
              16 sale of its products and services under that mark and the EMI Marks, the EMI
              17 Marks, including in particular the ENTREPRENEUR Mark, have acquired
              18 secondary meaning, whereby the consuming public of this District, the State of
              19 California, and the United States associate the EMI Marks with a single source of
              20 products and services.
              21                60.      EMI is the senior user of the EMI Marks as it began use of those
              22 marks in interstate commerce prior to Defendants’ first use of the confusingly
              23 similar Infringing Entrepreneur Mark.
              24                61.      Defendants were aware of the EMI Marks, and in particular, the
              25 ENTREPRENEUR Mark because Defendants were on constructive notice based
              26 on EMI’s longstanding federal registrations, as well as on actual notice based on
              27 EMI’s letter to Defendants about this matter. Yet, Defendants continued to use
              28
                       US-DOCS\109750573.1                                                         COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                       19                 DEMAND FOR JURY TRIAL
                   Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 21 of 27 Page ID #:21


                   1 their infringing mark. Thus, Defendants’ unauthorized use of the confusingly
                   2 similar Infringing Entrepreneur Mark was and is knowing, intentional, and willful.
                   3            62.      Through its use of the confusingly similar Infringing Entrepreneur
                   4 Mark, Defendants intended to, and did in fact, confuse and mislead consumers into
                   5 believing, and misrepresented and created the false impression, that EMI somehow
                   6 authorized, originated, sponsored, approved, licensed, or participated in
                   7 Defendants’ use of the confusingly similar Infringing Entrepreneur Mark.
                   8            63.      In fact, there is no connection, association, or licensing relationship
                   9 between EMI and Defendants, nor has EMI ever authorized, licensed, or given
              10 permission to Defendants to use the confusingly similar Infringing Entrepreneur
              11 Mark in any manner.
              12                64.      Defendants’ use of the confusingly similar Infringing Entrepreneur
              13 Mark will likely cause confusion as to the origin and authenticity of Defendants’
              14 website, and related goods and services and will likely cause others to believe that
              15 there is a relationship between Defendants and EMI when there is, in fact, not.
              16                65.      As a direct and proximate result of Defendants’ wrongful conduct,
              17 EMI has been and will continue to be damaged.
              18                66.      Defendants’ actions thus constitute false designation of origin and
              19 unfair competition.
              20                67.      Defendants’ activities have caused, and will continue to cause,
              21 irreparable harm to EMI, for which it has no adequate remedy at law, in that:
              22 (i) the EMI Marks, including the ENTREPRENEUR Mark, comprise unique and
              23 valuable property rights that have no readily determinable market value;
              24 (ii) Defendants’ infringement constitutes interference with EMI’s goodwill and
              25 customer relationships and will substantially harm EMI’s reputation as a source of
              26 high-quality goods and services; and (iii) Defendants’ wrongful conduct, and the
              27 damages resulting to EMI, are continuing. Accordingly, EMI is entitled to
              28 injunctive relief pursuant to 15 U.S.C. § 1116(a).
                       US-DOCS\109750573.1                                                           COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                        20                  DEMAND FOR JURY TRIAL
                   Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 22 of 27 Page ID #:22


                   1            68.      Pursuant to 15 U.S.C. §1117(a), EMI is entitled to an order:
                   2 (i) requiring Defendants to account to EMI for any and all profits derived from its
                   3 actions, to be increased in accordance with the applicable provisions of law; and
                   4 (ii) awarding all damages sustained by EMI that were caused by Defendants’
                   5 conduct.
                   6            69.      Defendants’ conduct was and is intentional and without foundation in
                   7 law, and pursuant to 15 U.S.C. § 1117(a), EMI is therefore entitled to an award of
                   8 treble damages against Defendants.
                   9            70.      Defendants’ acts make this an exceptional case under 15 U.S.C.
              10 § 1117(a); thus EMI is entitled to an award of attorneys’ fees and costs.
              11                                     THIRD CLAIM FOR RELIEF
              12                                Common Law Trademark Infringement
              13                71.      EMI incorporates by reference the factual allegations set forth above.
              14                72.      EMI has valid and protectable common law rights in the EMI Marks.
              15                73.      EMI is the senior user of the EMI Marks.
              16                74.      Defendants’ conduct constitutes infringement of EMI’s common law
              17 rights in the EMI Marks.
              18                75.      Defendants’ use of the confusingly similar Infringing Entrepreneur
              19 Mark on unauthorized goods and services is likely to cause confusion as to the
              20 origin of Defendants’ goods and services and is likely to cause others to believe
              21 that there is a relationship between Defendants and EMI.
              22                76.      Defendants’ wrongful acts have permitted and will permit them to
              23 receive substantial profits based upon the strength of EMI’s reputation and the
              24 substantial goodwill it has built up in the EMI Marks.
              25                77.      As a direct and proximate result of Defendants’ wrongful conduct,
              26 EMI has been and will continue to be damaged.
              27                78.      Unless an injunction is issued enjoining any continuing or future use
              28 of the EMI Marks by Defendants, such continuing or future use is likely to
                       US-DOCS\109750573.1                                                         COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                       21                 DEMAND FOR JURY TRIAL
                   Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 23 of 27 Page ID #:23


                   1 continue to cause confusion and thereby irreparably damage EMI. EMI has no
                   2 adequate remedy at law. Accordingly, EMI is entitled to an injunction.
                   3                                   FOURTH CLAIM FOR RELIEF
                   4                                  Common Law Unfair Competition
                   5            79.      EMI incorporates by reference the factual allegations set forth above.
                   6            80.      EMI has expended significant time and expense in developing the
                   7 EMI Marks and the high-quality products and services it markets and sells under
                   8 those marks. The EMI Marks have been very successful and have developed a
                   9 substantial reputation and goodwill in the marketplace.
              10                81.      Through their wrongful conduct, Defendants have misappropriated
              11 EMI’s efforts and are exploiting the EMI Marks and EMI’s reputation to market
              12 and sell their services under the Infringing Entrepreneur Mark. These actions
              13 constitute unfair competition.
              14                82.         As a direct and proximate result of Defendants’ wrongful conduct,
              15 EMI has been and will continue to be damaged.
              16                83.         Unless an injunction is issued enjoining Defendants’ unfairly
              17 competitive conduct, EMI will continue to be damaged irreparably. EMI has no
              18 adequate remedy at law. Accordingly, EMI is entitled to an injunction.
              19                84.      Defendants have acted willfully, intentionally and maliciously, such
              20 that EMI is entitled to punitive damages.
              21                                                    PRAYER
              22                WHEREFORE, EMI prays for the following relief:
              23                A.          An injunction ordering Defendants, and their officers, directors,
              24 members, agents, servants, employees, and attorneys, and all other persons acting
              25 in concert or participating with them (collectively, the “Enjoined Parties”), who
              26 receive actual notice of the injunction order by personal or other service, to:
              27                       i.         cease all use and never use the ENTREPRENEUR PRESS
              28                                  mark, the EMI Marks, or any other mark likely to cause
                       US-DOCS\109750573.1                                                            COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                          22                 DEMAND FOR JURY TRIAL
                   Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 24 of 27 Page ID #:24


                   1                         confusion with the EMI Marks, including any misspelling or
                   2                         variation of those Marks, in, on or with any products or
                   3                         services, or in connection with the, advertising, marketing or
                   4                         other promotion, distribution, offering for sale, or sale, of any
                   5                         products or services, including on the Social Media Account;
                   6                  ii.    never use any false designation of origin, false representation,
                   7                         or any false or misleading description of fact, that can, or is
                   8                         likely to, lead the consuming public or individual members
                   9                         thereof, to believe that any products or services produced,
              10                             offered, promoted, marketed, advertised, provided, sold or
              11                             otherwise distributed by the Enjoined Parties is in any manner
              12                             associated or connected with EMI, or are licensed, approved, or
              13                             authorized in any way by EMI;
              14                     iii.    never represent, suggest in any fashion to any third party, or
              15                             perform any act that may give rise to the belief, that
              16                             the Enjoined Parties, or any of their products or services, are
              17                             related to, authorized, or sponsored by EMI;
              18                      iv.    never register any domain name that contains any of the EMI
              19                             Marks or any misspelling or variation of those Marks, or any
              20                             domain name confusingly similar to any of the EMI Marks;
              21                       v.    transfer to EMI all domain names in the Enjoined Parties’
              22                             possession, custody, or control that include the word
              23                             “entrepreneur” or any misspelling or variation thereof, are
              24                             otherwise confusingly similar to or contain any of the EMI
              25                             Marks, or were used in connection with the Infringing
              26                             Entrepreneur Mark;
              27                      vi.    cease all use of the Social Media Account and any similar
              28                             accounts or social media websites, and never register any social
                       US-DOCS\109750573.1                                                        COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                     23                  DEMAND FOR JURY TRIAL
                   Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 25 of 27 Page ID #:25


                   1                           media account that contains the ENTREPRENEUR PRESS
                   2                           mark, any of the EMI Marks, or any misspelling or variation of
                   3                           those Marks, or any other social media account confusingly
                   4                           similar to any of the EMI Marks;
                   5                 vii.      transfer to EMI the Social Media Account and all other
                   6                           accounts used to promote the ENTREPRENEUR PRESS mark,
                   7                           including all such accounts in Defendants’ possession, custody,
                   8                           or control that include the word “entrepreneur” or any
                   9                           misspelling or variation thereof, or are otherwise confusingly
              10                               similar to or contain any of the EMI Marks;
              11                     viii.     never unfairly compete with EMI in any manner whatsoever, or
              12                               engage in any unfair, fraudulent, or deceptive business practices
              13                               that relate in any way to the production, distribution, marketing,
              14                               and/or sale of products and services bearing any of the EMI
              15                               Marks or any other mark likely to cause confusion with the
              16                               EMI Marks, including any misspelling or variation of those
              17                               Marks; and
              18                      ix.      never apply for or seek to register the ENTREPRENEUR
              19                               PRESS mark, any of the EMI Marks, or any other mark likely
              20                               to cause confusion with the EMI Marks, including any
              21                               misspelling or variation of those Marks.
              22                B.       An order pursuant to 15 U.S.C. § 1116(a), directing the Enjoined
              23 Parties to file with the Court and serve upon EMI’s counsel, within thirty (30) days
              24 after service of the order of injunction, a report in writing under oath setting forth
              25 in detail the manner and form in which the Enjoined Parties have complied with
              26 the injunction.
              27                C.       To give practical effect to the Court’s injunction, the social
              28 networking service or entity (e.g., Instagram) related to any of the social media
                       US-DOCS\109750573.1                                                           COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                        24                  DEMAND FOR JURY TRIAL
                   Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 26 of 27 Page ID #:26


                   1 accounts subject to this Order shall, within fourteen (14) days of receipt of the
                   2 Order, transfer, disable, or otherwise cancel those subject accounts at EMI’s
                   3 request if the Enjoined Parties have not already done so.
                   4            D.          To give practical effect to the Court’s injunction, an order that the
                   5 Registry or Registrar for any of the foregoing domain names shall, within fourteen
                   6 (14) days of receipt of the Order, transfer or otherwise assign those subject domain
                   7 names to EMI if the Enjoined Parties have not already done so.
                   8            E.          An order finding that, by the acts complained of above, Defendants
                   9 have infringed EMI’s federally-registered trademarks in violation of 15 U.S.C.
              10 § 1114.
              11                F.       An order finding that, by the acts complained of above, Defendants
              12 have created a false designation of origin and false representation of association in
              13 violation of 15 U.S.C. § 1125(a).
              14                G.          An order finding that, by the acts complained of above, Defendants
              15 have engaged in common law trademark infringement.
              16                H.          An order finding that, by the acts complained of above, Defendants
              17 have engaged in common law unfair competition.
              18                I.       An order awarding EMI damages as follows:
              19                       i.         Pursuant to 15 U.S.C. § 1117(a), EMI’s actual damages, as well
              20                                  as all of Defendants’ profits or gains of any kind from its acts of
              21                                  trademark infringement, false designation of origin, and unfair
              22                                  competition, including a trebling of those damages; and
              23                      ii.         Punitive damages pursuant to California common law.
              24                J.       An order pursuant to 15 U.S.C. § 1117(a) finding that this is an
              25 exceptional case and awarding EMI its reasonable attorneys’ fees.
              26                K.          An order pursuant to 15 U.S.C. § 1117(a) awarding EMI all of its
              27 costs, disbursements, and other expenses incurred due to Defendants’ unlawful
              28 conduct.
                       US-DOCS\109750573.1                                                              COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                           25                  DEMAND FOR JURY TRIAL
                   Case 8:19-cv-01706 Document 1 Filed 09/06/19 Page 27 of 27 Page ID #:27


                   1            L.       An order awarding EMI pre-judgment interest.
                   2            M.       An order awarding EMI such other relief as the Court deems
                   3 appropriate.
                   4                                       JURY DEMAND
                   5            Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby
                   6 demands a trial by jury.
                   7
                        Dated: September 6, 2019                    Respectfully submitted,
                   8
                                                                    LATHAM & WATKINS LLP
                   9
              10                                                    By /s/ Perry J. Viscounty
                                                                      Perry J. Viscounty
              11
                                                                         Attorneys for Plaintiff
              12                                                         ENTREPRENEUR MEDIA, INC.
              13
              14
              15
              16
              17
              18
              19
              20
              21
              22
              23
              24
              25
              26
              27
              28
                       US-DOCS\109750573.1                                                        COMPLAINT
ATTORNEYS AT LAW
 ORANGE COUNT Y                                                     26                  DEMAND FOR JURY TRIAL
